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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:07CR237
                                                  )
CARLOS RAMON CHAIREZ-LOPEZ,                       )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )


      UPON THE ORAL MOTION OF THE DEFENDANT and no objection from the
government,

       IT IS ORDERED that the evidentiary hearing on the Motion to Suppress Evidence
Motion to Suppress Statements [31] is continued to October 25, 2007 at 1:00 p.m. before
Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 10th day of October, 2007.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
